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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION



CASSANDRA KOVALICK,

Plaintiff,                                            Case No.: 3:11-cv-2-J-34JBT


vs.
AEGIS RECEIVABLES MANAGEMENT, INC.,

Defendant.
_______________________________/


                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
                                WITH PREJUDICE

        Having amicably resolved all matters in controversy and pursuant to Federal Rule of

Civil Procedure 41(a)(1)(i), Plaintiff voluntary dismisses this action with prejudice.



Dated: February 28, 2011                      Respectfully submitted,


                                              /s Andrew I. Glenn
                                              Andrew I. Glenn
                                              E-mail: AGlenn@cardandglenn.com
                                              Florida Bar No.: 577261
                                              J. Dennis Card, Jr.
                                              E-mail:DCard@cardandglenn.com
                                              Florida Bar No. 0487473
                                              Card & Glenn, P.A.
                                              2501 Hollywood Boulevard, Suite 100
                                              Hollywood, Florida 33020
                                              Telephone: (954) 921-9994
                                              Facsimile: (954) 921-9553
                                              Attorneys for Plaintiff
